              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 1 of 29



                                                               SeaThe Honorable Marsha J. Pechman
 1
 2
 3
 4
 5
 6
 7
 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10
     YOLANY PADILLA, on behalf of herself and her
11
     6-year-old son J.A.; IBIS GUZMAN, on behalf of herself            No. 2:18-cv-928 MJP
12   and her 5-year-old son R.G.; BLANCA ORANTES, on
     behalf of herself and her 8-year-old son A.M.; BALTAZAR
13   VASQUEZ, on behalf of himself;                                    DEFENDANTS’
                                             Plaintiffs-Petitioners,   OPPOSITION TO
14
             v.                                                        PLAINTIFFS’ AMENDED
15                                                                     MOTION FOR CLASS
     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT                          CERTIFICATION, ECF 37
16   (“ICE”); U.S. DEPARTMENT OF HOMELAND
     SECURITY (“DHS”); U.S. CUSTOMS AND BORDER
17
     PROTECTION (“CBP”); U.S. CITIZENSHIP AND                          NOTE ON MOTION
18   IMMIGRATION SERVICES (“USCIS”); EXECUTIVE                         CALENDAR: SEPTEMBER 28,
     OFFICE FOR IMMIGRATION REVIEW (“EOIR”);                           2018.
19   THOMAS HOMAN, Acting Director of ICE; KIRSTJEN
     NIELSEN, Secretary of DHS; KEVIN K. McALEENAN,
20
     Acting Commissioner of CBP; L. FRANCIS CISSNA,
21   Director of USCIS; MARC J. MOORE, Seattle Field Office
     Director, ICE, JEFFERSON BEAUREGARD
22   SESSIONS III, United States Attorney General; LOWELL
     CLARK, warden of the Northwest Detention Center in
23
     Tacoma, Washington; CHARLES INGRAM, warden of the
24   Federal Detention Center in SeaTac, Washington; DAVID
     SHINN, warden of the Federal Correctional Institute in
25   Victorville, California; JAMES JANECKA, warden of the
     Adelanto Detention Facility;
26
27                                       Defendants-Respondents.

28

                                                   i                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
                    Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 2 of 29




 1
                                                            TABLE OF CONTENTS
 2
 3
     INTRODUCTION .......................................................................................................................... 1
 4
 5   BACKGROUND ............................................................................................................................ 3

 6   PROPOSED CLASS REPRESENTATIVES ................................................................................. 7
 7   LEGAL STANDARD..................................................................................................................... 9
 8
     ARGUMENT ................................................................................................................................ 10
 9
        I.      The Court lacks jurisdiction to certify the classes. ............................................................ 10
10
11      II.         Plaintiffs’ proposed classes do not share any common claim that is capable of uniform

12      resolution as required for certification under Rule 23(a)(2) and (b)(2). ................................... 11

13            A.       Plaintiffs’ TRAC claims cannot be decided without an individualized assessment of
14            the reason for the challenged delay in each individual case. ................................................ 12
15
              B.       Plaintiffs’ constitutional claims cannot be commonly resolved as to the class as a
16
              whole. .................................................................................................................................... 14
17
              C.       Plaintiffs have not offered any explanation of the legal standard governing their
18
              asylum law claims (Count III) and therefore have failed to satisfy Rule 23 for that claim. . 15
19
20      III.        The named Plaintiffs are inadequate representatives with claims that are not typical of

21      the claims brought by the proposed classes. ............................................................................. 16

22            A.       Plaintiffs have not satisfied their burden of demonstrating the suitability of the
23            proposed class representatives given that none of them has a stake in the outcome of the
24            litigation. ............................................................................................................................... 16
25            B.       None of the proposed representatives has claims that are typical of the putative
26            classes’ claims. ...................................................................................................................... 19
27
        IV.         In the event the Court finds certification is appropriate, the class should be limited to
28

                                                                          ii                                Department of Justice, Civil Division
                                                                                                             P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                                                     (202) 616-4458
                 Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 3 of 29




 1      the Western District of Washington. ......................................................................................... 21
 2   CONCLUSION ............................................................................................................................. 24
 3
     CERTIFICATE OF SERVICE ..................................................................................................... 26
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                   iii                             Department of Justice, Civil Division
                                                                                                    P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                                                       Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                                            (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 4 of 29




 1                                            INTRODUCTION

 2          Plaintiffs move to certify two classes: one comprised of all detained aliens nationwide who

 3   have been waiting for a credible fear determination for at least ten days, and another comprised of

 4   all aliens nationwide eligible for a bond hearing under Matter of X-K-, 23 I. & N. Dec. 731 (BIA

 5   2005), who were not afforded a bond hearing within seven days of making the request. Plaintiffs

 6   seek to certify these classes of very differently-situated detainees to address a laundry list of legal

 7   challenges—challenges to the scheduling of their interviews and bond hearings as well as to the

 8   standards and procedures governing bond hearings—without making any attempt to show that the

 9   appropriate legal analysis can be conducted while ignoring the reason the request remained

10   pending. It can’t. The motion for class certification should therefore be denied.

11          As an initial matter, the Court lacks jurisdiction to certify the proposed classes due to the

12   nature of the claims and the relief sought. Neither class can be certified because the Immigration

13   and Nationality Act (INA), at 8 U.S.C. § 1252(e)(3), bars this Court from certifying a class for the

14   purpose of challenging the procedures under section 1225(b). The INA, at 8 U.S.C. § 1252(f)(1),

15   also bars certification of either of the classes for injunctive relief on any of the claims. Because the

16   INA prohibits class litigation of these claims, the named Plaintiffs must pursue their claims as

17   individuals, and Plaintiffs’ motion for class certification must be denied.

18          In addition, Plaintiffs cannot satisfy their “rigorous” burden under Federal Rule of Civil

19   Procedure 23(a) and (b)(2) to demonstrate that their claims are susceptible to common resolution

20   because different issues of law and fact will overwhelm the analysis. Plaintiffs’ scheduling claims

21   are not capable of classwide resolution because there is no legal basis for Plaintiffs’ contention

22   that the proposed classes are entitled to dictate arbitrary deadlines—especially given the variety of

23   reasons credible fear determinations and bond hearings may take longer to complete. Plaintiffs’

24   challenges to bond hearing standards and procedures are similarly incapable of uniform resolution,

25   owing to the highly-flexible legal tests governing the disposition of these challenges. Plaintiffs’

26   standards and procedures challenges fail for the additional reason that the proposed class is a

27   complete mismatch with the claims. The proposed class is exclusively composed of aliens who

28   have not been injured by any of the challenged procedures because they have not had a bond

                                                    1                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 5 of 29




 1   hearing—much less been denied bond as a result of any of the challenged procedures. Moreover,
 2   as demonstrated by the outcomes of the named Plaintiffs’ hearings, the proposed class includes
 3   individuals that, when provided bond hearings under the traditional procedures, could be granted
 4   bond and thus have no claim for modified bond procedures whatsoever under any of Plaintiffs’
 5   legal theories. The classes therefore cannot be certified consistent with Rule 23(a) and (b)(2).
 6          The dispositive differences between the proposed classes and their representatives
 7   demonstrate an additional flaw: the named Plaintiffs are inadequate class representatives for the
 8   proposed classes and have claims that are atypical of the class claims. All of the proposed
 9   representatives have already received their credible fear interviews and been released from
10   detention. As a result, none has a personal stake in the outcome of this litigation. The record
11   supporting the motion is devoid of any evidence demonstrating the proposed representative’s
12   commitment to the litigation—including any mention of their desire (or ability) to litigate a
13   complicated class action while attempting to pursue individual claims for relief from removal.
14   What the record contains, instead, is extensive evidence that Plaintiffs were detained under unique
15   circumstances that will not be shared by the vast majority of future class members. As a result, the
16   named Plaintiffs’ claims are unlikely to be typical of the class as a whole. Plaintiffs have failed to
17   meet their burden under Rule 23(a)(3) and (4) of demonstrating the adequacy of their proposed
18   representatives and that their claims are typical of the claims brought by the class.
19          Plaintiffs’ half-hearted efforts to satisfy their burdens under Rule 23 are especially
20   problematic given what is at stake here: if successful in their bid for class certification, no
21   individual alien anywhere in the United States meeting the class definition would be able to file
22   an individual writ of habeas corpus raising these claims. In addition, if certified, this Court will
23   prevent other Courts from addressing these important issues of first-impression in their own
24   jurisdictions. Instead, the Court will be exercising exclusive jurisdiction over habeas custodians
25   far outside of its jurisdiction. The Court should exercise such power with caution. Accordingly,
26   even if this Court finds class certification appropriate, the Court should limit the class to aliens
27   located within the Court’s jurisdiction.
28

                                                   2                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 6 of 29



                                              BACKGROUND
 1
 2          Aliens seeking admission to the United States are required to submit to an immigration

 3   inspection so that an immigration officer can determine whether the alien is admissible to the

 4   United States. See, e.g., 8 U.S.C. §§ 1181, 1182, 1225(a)(3). Aliens are required to present

 5   themselves at a port of entry for this inspection, but aliens apprehended crossing the border

 6   unlawfully between ports of entry are also applicants for admission and subject to an immigration

 7   inspection. 8 U.S.C. § 1225(a)(1) & (3).

 8          These aliens are all initially processed by U.S. Customs and Border Protection (CBP), but

 9   the processing steps and timing will vary significantly based on numerous factors, including

10   whether the alien is encountered at a port of entry or intercepted after illegally crossing into the

11   United States. See ECF 62, Declaration of Aaron Hull, Chief Patrol Agent, El Paso Sector, United

12   States Border Patrol (Hull Decl.) ¶¶ 7-16; ECF 63, Declaration of Sidney K. Aki, Port Director of

13   the Port of San Ysidro, California, CBP (Aki Decl.) ¶¶ 6-9. Entering the United States between the

14   ports of entry is illegal and subjects an alien to potential criminal prosecution. See, e.g., 8 U.S.C.

15   § 1325(a). In contrast, it is not illegal, absent some attempt to evade inspection, for an alien to

16   present himself or herself at a port of entry and be found inadmissible. See also, e.g., 8 U.S.C. §

17   1182 (grounds of inadmissibility). These legal distinctions can lead to significant variances in

18   processing if, for example, an alien is subject to criminal prosecution.

19          Processing will further vary based on the size and location of the port where an alien seeks

20   admission or the Border Patrol station nearest to entry, whether the alien requires medical

21   attention, as well as the volume and characteristics of other aliens arriving with or apprehended in

22   close geographic and temporal proximity to the alien. Hull Decl. ¶¶ 7-16; Aki Decl. ¶¶ 6-9. For

23   example, processing during influxes will take more time. Aki Decl. ¶ 12; Hull Decl. ¶ 11.

24   Additionally, processing time may vary depending on the characteristics of the population. If, for

25   example, CBP encounters a significant number of minors, people with medical concerns, or

26   individuals that pose a risk (such as individuals with serious criminal histories), processing times

27   will vary as CBP processes that population in a safe manner. Hull Decl. ¶ 11. It is also possible

28   that processing times may vary slightly based upon other individualized needs, including, for

                                                   3                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 7 of 29




 1   example, the need to obtain interpretive services to communicate with an alien. Aki Decl. ¶ 11.
 2          Aliens remain in CBP custody until they can be removed or transferred—most commonly
 3   to the Department of Health and Human Services (unaccompanied alien children), the United
 4   States Marshals Service (for criminal prosecution), or to Immigration and Customs Enforcement
 5   (ICE) (adults and family units) for placement in an appropriate facility. Aki Decl. ¶ 11; Hull Decl.
 6   ¶ 11. The amount of time aliens spend in CBP custody will depend on factors unique to each
 7   situation and often dependent on the transferee agency. Hull Decl. ¶ 12. For transfers to ICE, CBP
 8   has to wait until ICE has identified an appropriate space for the individual and transportation may
 9   be arranged, often through contract carriers with specified hours. Aki Decl. ¶ 12.
10          An aliens who indicates an intention to apply for asylum, asserts a fear of persecution or
11   torture, or return to his or her country (either to CBP during inspection or to ICE after transfer) are
12   referred to U.S. Citizenship and Immigration Services (USCIS) for a credible fear interview (CFI)
13   to assess whether they have a “significant possibility” of persecution or torture. 8 U.S.C. §
14   1225(b)(1)(A)(ii), (b)(1)(B)(v); 8 C.F.R. § 208.30(d). Aliens who express such fear will be
15   provided with several forms: (1) Form I-860, Notice and Order of Expedited Removal, the
16   document listing the charges of inadmissibility; (2) Form I-867A, providing information to aliens
17   concerning the Expedited Removal process, the consequences of providing false information, and
18   the protections given by the U.S. for those individuals fleeing persecution; (3) Form I-867B, the
19   alien’s sworn statement or documentation of the officer’s efforts to obtain a sworn statement
20   related to assessing whether the alien has a fear; and (4) Form M-444, a signed acknowledgement
21   that the alien was apprised of his or her rights under the credible fear process, including a right to
22   request a 48-hour delay in their hearing. See ECF 64, Declaration of John L. Lafferty, Chief of the
23   Asylum Division, USCIS (Lafferty Decl.) ¶¶ 5-6; ECF 65, Declaration of David W. Jennings,
24   Acting Assistant Director, Field Operations, Enforcement and Removal Operations, ICE (Jennings
25   Decl.) ¶ 8.
26          The timing of ICE’s referral of a case to USCIS will vary based on a number of factors,
27   many related to the volume of the fear claims by detained aliens in a given region and logistical
28   considerations in conducting the interviews. Jennings Decl. ¶¶ 9-12. The credible fear process

                                                   4                       Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 8 of 29




 1   requires the coordination of CBP, ICE, and USCIS. Id. at ¶ 7. Accordingly, in making referrals to
 2   USCIS, ICE is mindful of USCIS’s resources and other practical limitations associated with the
 3   credible fear process. See id. at ¶¶ 7, 9-12, 24.
 4          For example, in the summer of 2018, ICE faced a unique challenge when it experienced an
 5   influx in adult aliens that exceeded the available bed space. Id. at ¶¶ 10-11. As a result, ICE entered
 6   into Inter-Agency Agreements (IAA) to use bed space at five Bureau of Prison (BOP) facilities,
 7   including Victorville Federal Correctional Institution (Victorville) and the Federal Detention
 8   Center SeaTac (SeaTac) where the four named Plaintiffs were housed. Id. at ¶¶ 10, 16, 25-27. ICE
 9   intended to use the five BOP facilities for a short period while ICE secured additional bed space
10   elsewhere. Id. at ¶ 10. ICE faced some initial challenges in using the new BOP facilities that
11   impacted the timing of referrals to USCIS. Id. at ¶¶ 10-11, 24. Because the facilities had not
12   previously housed immigration detainees, there were not established procedures or (in some cases)
13   appropriate physical space to conduct confidential credible fear interviews. Id. To address this
14   problem, ICE worked closely with USCIS to implement new procedures for scheduling and
15   transporting detainees from certain BOP facilities to ICE offices for interviews. Id. Under the new
16   procedures, ICE prepared credible fear referrals on a rolling basis and to best coordinate the
17   transfer of referred aliens to other facilities for interviews. Id. In addition, on June 21, 2018, ICE
18   was temporarily enjoined from further credible fear processing prior to facilitating legal
19   presentations or attorney consultations at Victorville. Id. at ¶¶ 11, 18. The temporary challenges
20   associated with the influx and the IAAs have abated as there are no immigration detainees housed
21   in Victorville or SeaTac at this time and fewer than 100 immigration detainees at the three other
22   IAA BOP facilities. Id. at ¶ 10.
23          After a credible fear referral is made to USCIS, USCIS begins the process of scheduling
24   the alien for a credible fear screening interview. Lafferty Decl. at ¶ 6. There are an unlimited
25   number of factors that may impact when an interview is scheduled following the referral to USCIS
26   Id. at ¶ 8a-n. Interviews may be delayed due to the availability of interpreters, interview space, and
27   phone lines. Id. at ¶ 8c, g, h. Interviews may have to be delayed or rescheduled for detention facility
28   access issues, such as inclement weather or health or safety issues at the detention facility, or

                                                    5                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 9 of 29




 1   because the alien was transferred due to space issues following the referral. Id. at ¶ 8i-k. The
 2   volume of credible fear claims—as well as the volume of other claims that require use of the same
 3   cadre of asylum officers—will necessarily impact the timing of interviews. Id. at ¶ 8i-k. There are
 4   presently approximately 530 specially-trained asylum officers in the asylum division. Id. at ¶ 4.
 5   Due to lengthy onboarding and statutorily-required trainings, hiring is not an immediate solution
 6   to volume fluctuations. Id. Thus, USCIS inevitably makes prioritization decisions in scheduling
 7   interviews. See id. at ¶ 8d-f.
 8           If the alien is found to have a positive credible fear or persecution or torture, the
 9   Department of Homeland Security (DHS) refers the case to the Executive Office for Immigration
10   Review (EOIR) for removal proceedings by filing a Notice to Appear (NTA). See ECF 66,
11   Declaration of Joe Neifert, Court Administrator, EOIR Tacoma Immigration Court (Neifert Decl.)
12   ¶ 9; ECF 67, Declaration of Hilma Torres, Court Administrator, EOIR Adelanto Immigration
13   Court (Torres Decl.) ¶ 9. DHS may also file a copy of the Form I-286 Notice of Custody
14   Determinations with the NTA. Id. The Form I-286 includes a box on which the alien can check if
15   they are requesting that an immigration judge (IJ) review ICE’s initial custody determination. Id.;
16   8 C.F.R. §§ 236.1(d)(1), 1003.19, 1236.1(d)(1). In Tacoma and Adelanto, filings are typically
17   processed in 1-3 business days, depending on volume. Torres Decl. ¶ 8; Neifert Decl. ¶ 8. If the
18   alien makes a request for a bond hearing on the Form I-286, the bond hearing is automatically
19   scheduled. Torres Decl. ¶ 10; Neifert Decl. ¶ 10. Alternatively, an alien may request a bond hearing
20   in writing, or while in court, Torres Decl. ¶ 11; Neifert Decl. ¶ 11, or in some locations, an alien’s
21   representative may request a bond hearing by telephone, Neifert Decl. ¶ 11.
22           Bond hearings are scheduled as promptly as possible in light of docket space, attorney
23   availability, and procedural considerations (such as time to properly notice the bond hearing and
24   schedule interpreters). Torres Decl. ¶ 13; Neifert Decl. ¶ 13. Adelanto has six IJs (one for each
25   available courtroom) presiding over a total of 1,356 cases as of September 17, 2018. Torres Decl.
26   ¶ 5. Hearings are scheduled into November 2018, save for 2-3 hours per day, four days per week
27   that is reserved for each IJ to conduct bond hearings. Id. at ¶¶ 5, 13. Tacoma has five IJs, three
28   who appear in person, and two who appear in courtrooms via video teleconference from locations

                                                   6                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 10 of 29




 1   outside of Tacoma. See Neifert Decl. ¶ 6. As of September 17, these five IJs are presiding over a
 2   total of 1,271 cases and each IJ’s calendar is set into December 2018. Id. at ¶ 5. Tacoma currently
 3   reserves approximately three hours per day for bond hearings. Id. In some instances, it may not be
 4   possible to schedule a bond hearing without impacting older detained cases that are already
 5   scheduled. Id. at ¶¶ 13-15; Torres Decl. ¶¶ 13-15. Under existing conditions, bond hearings at
 6   Adelanto are typically scheduled within 7-14 days of the request, Torres Decl. ¶ 12, and at Tacoma,
 7   they are typically scheduled within 10 days of the request, Neifert Decl. ¶ 12.
 8          The alien has the burden of demonstrating that he or she is statutorily eligible for bond, is
 9   not a flight risk, and is not a danger to the community in order to obtain release on bond. 8 C.F.R.
10   § 236.1(c). The alien may appeal the IJ’s custody redetermination to the Board of Immigration
11   Appeals (BIA). 8 C.F.R. §§ 236.1(d)(3)(i), 1236.1(d)(3)(i). There is no policy requiring that bond
12   hearings be recorded (though some are); however, if either party appeals the IJ’s bond decision,
13   the IJ will prepare a written bond memorandum that sets forth the grounds for the bond
14   determination.   See   Immigration     Court       Practice   Manual,    §    9.3(e)(vii)    available    at
15   https://www.justice.gov/eoir/page/file/1084851/download (last accessed September 22, 2018); see
16   e.g. Torres Decl. ¶ 18; Neifert Decl. ¶ 20.
17                             PROPOSED CLASS REPRESENTATIVES

18          Plaintiff Yolany Padilla entered the United States without inspection on May 18, 2018, was

19   apprehended shortly thereafter, and expressed fear of returning to Honduras. ECF 12 at 4; see also

20   Jennings Decl. ¶ 25. She was transferred to ICE custody on May 21, 2018. Jennings Decl. ¶ 25.

21   On May 22, 2018, ICE sent a credible fear referral to USCIS while Padilla was in custody in Texas,

22   but she was transferred to SeaTac less than ten days later, on the first day it began housing

23   immigration detainees under the new IAA. Id. at ¶¶ 24-25. Once appropriate procedures were in

24   place, ICE again referred Padilla to USCIS for a credible fear interview, which took place on July

25   2, 2018. Id. On July 3, 2018, USCIS made a positive credible fear determination, ECF 12 at 10,

26   and DHS submitted an NTA to EOIR, Jennings Decl. ¶ 25. Before the NTA was docketed, counsel

27   for Padilla contacted the Tacoma immigration court and requested a bond hearing. Neifert Decl. ¶

28   18. The bond hearing occurred three days later on July 6, 2018, and Padilla was granted an $8,000

                                                    7                        Department of Justice, Civil Division
                                                                              P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                                 Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                      (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 11 of 29




 1   bond. Jennings Decl. ¶ 25. Padilla posted bond later that day and was released from ICE custody.
 2   Id. She waived appeal of the bond order and, as a result, no written bond decision was issued. See
 3   ECF 12 at 12.
 4          Plaintiff Ibis Guzman entered the United States without inspection on May 16, 2018, was
 5   apprehended shortly thereafter, and expressed fear of returning to Honduras. ECF 12 at 24; see
 6   also Jennings Decl. ¶ 26. She was transferred to ICE custody on May 20, 2018. Jennings Decl. ¶
 7   26. On May 21, 2018, ICE sent a credible fear referral to USCIS while Guzman was in custody in
 8   Texas, but she was transferred to SeaTac on June 3, 2018, one day after it began housing
 9   immigration detainees under the new IAA. Id. at ¶¶ 24, 26. ICE transferred Guzman to the
10   Northwest Detention Center (NWDC) on June 20, 2018, and submitted a new credible fear referral
11   to USCIS. Id. at ¶ 26. She had a credible fear interview on June 27, 2018, received a positive
12   credible fear determination, and was placed in proceedings pursuant to an NTA issued on June 28,
13   2018. Id. The following day, counsel for Guzman contacted the Tacoma immigration court and
14   requested a bond hearing. Neifert Decl. ¶ 19. Plaintiff Guzman received a bond hearing on July 3,
15   2018, and was denied bond. ECF No. 12 at 32. Guzman reserved appeal and, as a result, a written
16   decision was issued by the Immigration Judge. See Exhibit A, Guzman Bond Decision. Guzman
17   later withdrew her appeal as she was released from custody on July 31, 2018. ECF No. 26 at ¶ 119;
18   see also Neifert Decl. ¶ 19.
19          Plaintiff Blanca Orantes entered the United States without inspection on May 21, 2018,
20   was apprehended shortly thereafter, and expressed fear of returning to El Salvador. ECF 26 at ¶
21   44; ECF 12 at 14. She was transferred to ICE custody in Texas on May 24, 2018. Jennings Decl.
22   ¶ 27. Orantes was transferred to SeaTac on June 3, 2018, one day after it began housing
23   immigration detainees under the new IAA. Id. at ¶¶ 24, 27. To facilitate her credible fear interview,
24   ICE then transferred Orantes to NWDC on June 20, 2018. See id. at ¶¶ 22, 24, 27. Orantes had a
25   credible fear interview on June 27, 2018, and received a positive credible fear determination on
26   June 28, 2018. ECF 12 at 21. ICE filed an NTA the same day, but the NTA was rejected as a result
27   of a Supreme Court decision issued earlier the same week, Pereira v. Sessions, 138 S. Ct. 2105
28   (June 21, 2018). Jennings Decl. ¶ 27. On July 3, 2018, prior to the NTA being accepted for filing,

                                                   8                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 12 of 29




 1   counsel for Orantes called the immigration court to request a bond hearing. Neifert Decl. ¶ 20. ICE
 2   filed an amended NTA on July 10, 2018. Jennings Decl. ¶ 27. An IJ conducted Orantes’ bond
 3   hearing on July 16, 2018. Neifert Decl. ¶ 20. The hearing was recorded. Id. She was denied bond,
 4   but never filed an appeal of the order, id., presumably because she was released on an Order of
 5   Recognizance on July 25, 2018, Jennings Decl. ¶ 27.
 6          Plaintiff Baltazar Vasquez entered the United States without inspection on or about June
 7   1, 2018, was apprehended shortly thereafter, and expressed a fear of returning to El Salvador. ECF
 8   No. 26 at ¶ 46; Jennings Decl. ¶ 15. ICE took custody of him on June 6, 2018. Id. On June 8, 2018,
 9   Vasquez was transferred to FCI Victorville, two days after it began housing immigration detainees
10   under the new IAA. Jennings Decl. ¶¶ 16. On June 21, 2018, ICE was temporarily enjoined from
11   processing credible fear claims prior to facilitating legal presentations or attorney consultations at
12   Victorville. Id. at ¶¶ 11, 18. On July 20, 2018, ICE transferred Vasquez to Adelanto, and his case
13   was referred to USCIS shortly thereafter. Id. ¶ 19. He was interviewed by an asylum officer on
14   July 31, 2018, and received a positive credible fear determination on August 2, 2018. ECF No. 26
15   at ¶ 108; Jennings Decl. ¶ 20. EOIR received an NTA and custody determination form for Vasquez
16   on August 3, 2018, and the bond hearing was scheduled on August 7, 2018. Torres Decl. ¶ 18. His
17   bond hearing was conducted on August 20, 2018, and it was recorded by the immigration judge.
18   Id. He stipulated to a bond in the amount of $8,000.00, and was released. ECF 36-1, Vasquez Bond
19   Order. He waived appeal of the bond order. Torres Decl. ¶ 18.
20                                          LEGAL STANDARD

21          “Plaintiffs wishing to proceed through a class action must actually prove—not simply

22   plead—that their proposed class satisfies each requirement of Rule 23.” Halliburton Co. v. Erica

23   P. John Fund, Inc., 134 S. Ct. 2398, 2412 (2014); see Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

24   338, 350 (2011). The Courts may certify a class only if Plaintiffs present “evidentiary proof”

25   sufficient to withstand a “rigorous analysis” of Rule 23’s requirements. Comcast Corp. v. Behrend,

26   569 U.S. 27, 33 (2013). Plaintiffs’ “rigorous” burden includes showing that each of the four

27   requirements of Rule 23(a) and at least one requirement of Rule 23(b) have been met. Fed. R. Civ.

28   P. 23(a), (b); Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001).. A district

                                                   9                       Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 13 of 29




 1   court may certify a class only if: “(1) the class is so numerous that joinder of all members is
 2   impracticable; (2) there are questions of law and fact common to the class; (3) the claims or
 3   defenses of the representative parties are typical of the claims or defenses of the class; and (4) the
 4   representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.
 5   23(a). In this case, Plaintiffs seek certification under Rule 23(b)(2), see ECF 37 at 22 n.4, which
 6   permits class certification where “the party opposing the class has acted or refused to act on
 7   grounds that apply generally to the class, so that final injunctive relief or corresponding declaratory
 8   relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). “The key to the
 9   (b)(2) class is ‘the indivisible nature of the injunctive or declaratory remedy warranted—the notion
10   that the conduct is such that it can be enjoined or declared unlawful only as to all of the class
11   members or as to none of them.’” Wal-Mart, 564 U.S. at 360.
12                                              ARGUMENT

13          I.      The Court lacks jurisdiction to certify the classes.

14          As set forth in Defendants’ Motion to Dismiss, this Court lacks jurisdiction to certify a

15   class on claims raised under section 1252(a)(2)(A)(i), (e), and (f)(1). ECF 36 at 6-8, 23-24. The

16   INA requires that any challenge to “procedures and policies adopted by the [Secretary of

17   Homeland Security] to implement the provisions of section 1225(b)(1)” must be brought in

18   accordance with section 1252(e). 8 U.S.C. § 1252(a)(2)(A)(iv); see 8 U.S.C. § 1252(a)(2)(A)(i)

19   (channeling jurisdiction over “any cause or claim arising from or relating to the implementation or

20   operation of an order of removal pursuant to section 1225(b)(1)” through section 1252(e)); see
     also 6 U.S.C. §§ 202, 291, 557 (transferring responsibility to the Secretary). Plaintiffs’ CFI claims
21
     challenge the Secretary’s procedures for scheduling and conducting credible fear screening
22
     interviews and therefore fall within the types of challenges to section 1225(b)(1) that may not be
23
     litigated on behalf of a class. In addition, Plaintiffs’ class challenges to the detention framework
24
     applicable to aliens subject to section 1225(b)(1)’s procedures are similarly barred by section
25
     1252(a)(2)(A)(iv) and not brought in accordance with section 1252(e)(2). The Court, therefore,
26
     must deny the motion for class certification consistent with sections 1252(a), (e).
27
            The Court also lacks jurisdiction to certify a class seeking injunctive relief for these claims
28

                                                   10                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 14 of 29




 1   under section 1252(f)(1). Section 1252(f)(1) bars “classwide injunctive relief against the operation
 2   of §§ 1221-1231” with a narrow carve-out that applies to “individual cases.” Reno v. Am.-Arab
 3   Anti-Discrimination Comm., 525 U.S. 471, 481-82 (1999). Plaintiffs seek to enjoin the operation
 4   of section 1225(b) on a classwide—not individual—basis to dictate time limits that are not
 5   contemplated by statute, to overhaul the detention scheme set forth in section 1225(b)(1), and to

 6   revise the standards and burdens that govern those hearings. Accordingly, this Court lacks

 7   jurisdiction to certify a class seeking an injunctive remedy for Plaintiffs’ claims. Class certification

 8   should be denied.

 9          II.     Plaintiffs’ proposed classes do not share any common claim that is capable of
                    uniform resolution.
10
            To obtain class certification, Plaintiffs must demonstrate that the proposed class is entitled
11
     to common relief as to each count on which certification is sought. See Fed. R. Civ. P. 23(a)(2),
12
     (b)(2). The Supreme Court has repeatedly held that “[i]t is not the raising of common ‘questions’—
13
     even in droves—but, rather the capacity of a classwide proceeding to generate
14
     common answers apt to drive the resolution of the litigation.” Wal–Mart, 564 U.S. at 350. The
15
     commonality requirement is uniquely rigorous when applied to a class—like the proposed classes
16
     here—seeking certification under Rule 23(b)(2). For certification under Rule 23(b)(2), Plaintiffs
17
     must show that “declaratory relief is available to the class as a whole” and that the challenged
18
     conduct is “such that it can be enjoined or declared unlawful only as to all of the class members or
19
     as to none of them.” Wal–Mart, 564 U.S. at 360. Accordingly, Plaintiffs have the burden of
20
     demonstrating that factual differences in the class are unlikely to bear on the individual’s
21
     entitlement to relief. See id. If the factual differences have the likelihood of changing the outcome
22
     of the legal issue, then class certification is not appropriate. Cf. Califano v. Yamasaki, 442 U.S.
23
     682, 701 (1979); Wal-Mart, 564 U.S. at 350-51, 360. Satisfaction of Rule 23(a)(2) for a class under
24
     Rule (b)(2), therefore, requires two steps: (1) the identification of a common legal problem and,
25
     (2) a demonstration that the common legal issue may be resolved as to all class members simply
26
     by virtue of their membership in the class. Wal–Mart, 564 U.S. at 350, 360 (The common legal
27
     problem “must be of such a nature that it is capable of classwide resolution—which means that
28

                                                   11                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 15 of 29




 1   determination of its truth or falsity will resolve an issue that is central to the validity of each one
 2   of the claims in one stroke.” (emphasis added)).
 3          Plaintiffs’ claims fail this test because none of the necessary legal inquiries can be
 4   conducted without consideration of unique characteristics and factual circumstances that are not
 5   shared by the class as a whole. Plaintiffs’ APA claims challenging the “unreasonable delay” of
 6   their interviews or hearings require (at a minimum) an analysis of the reason why the government
 7   did not meet Plaintiffs’ arbitrary deadline, which is not common to the class a whole. Similarly,
 8   Plaintiffs’ constitutional claims must be individually analyzed under the flexible framework
 9   contemplated by the Due Process Clause and must account for a multitude of facts—not just the
10   amount of time that has passed. Plaintiffs do not even suggest a legal standard governing the
11   asylum claims or otherwise discuss why certification of these claims using the proposed class is
12   appropriate. Accordingly, Plaintiffs have not demonstrated that either class can be certified
13   consistent with Rule 23(a)(2) and (b)(2).
14          A.      Plaintiffs’ TRAC claims cannot be decided without an individualized assessment
                    of the reason for the challenged delay in each individual case.
15
            Plaintiffs’ unreasonable delay claims are not proper for class resolution because applicable
16
     precedent does not support imposition of a one-size-fits-all deadline—especially where the
17
     government is not alleged to be violating a statutory or regulatory timeline. Cf. Rosario v. United
18
     States Citizenship & Immigration Servs., No. C15-0813JLR, 2017 WL 3034447, at *9 (W.D.
19
     Wash. July 18, 2017) (TRAC class claim appropriate where there is a statutory or regulatory
20
     deadline for competition). “[C]ourts generally apply the so-called TRAC factors in deciding
21
     whether to order relief in claims of agency delay brought under the APA.” Independence Min. Co.,
22
     Inc. v. Babbitt, 105 F.3d 502, 507 (9th Cir.1997). The TRAC factors are:
23
24          (1) the time agencies take to make decisions must be governed by a “rule of
            reason”[;] (2) where Congress has provided a timetable or other indication of the
25          speed with which it expects the agency to proceed in the enabling statute, that
            statutory scheme may supply content for this rule of reason [;] (3) delays that might
26
            be reasonable in the sphere of economic regulation are less tolerable when human
27          health and welfare are at stake [;] (4) the court should consider the effect of
            expediting delayed action on agency activities of a higher or competing priority[;]
28          (5) the court should also take into account the nature and extent of the interests

                                                   12                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 16 of 29



            prejudiced by the delay[;] and (6) the court need not “find any impropriety lurking
 1
            behind agency lassitude in order to hold that agency action is unreasonably
 2          delayed.”

 3   Brower v. Evans, 257 F.3d 1058, 1068 (9th Cir. 2001).

 4          The legitimacy of the challenged “delays” cannot be determined in a vacuum without any

 5   consideration of the reasons for the delay. As this Court has repeatedly held, “What constitutes an

 6   unreasonable delay in the context of immigration applications depends to a great extent on the

 7   facts of the particular case.” Chen v. Heinauer, No. C07-103RSL, 2007 WL 2743390, at *4 (W.D.

 8   Wash. Sept. 17, 2007) (quoting Gelfer v. Chertoff, 2007 WL 902382 at *2 (N.D.Cal. Mar. 22,

 9   2007)). Just as this Court has rejected the government’s generalized defenses to TRAC claims, this

10   Court should reject Plaintiffs’ attempt to categorically litigate its TRAC claims here. See id.

11          The reasonableness of the alleged “delays” cannot be determined uniformly for the

12   proposed class as a whole. The class is unlimited in time, geographic scope, or circumstances of

13   apprehension—it includes anyone subject to expedited removal at any time anywhere in the United

14   States who did not receive a credible fear determination within ten days of expressing an intention

15   to apply for asylum or a fear of persecution. But there are any number of reasons why an individual

16   alien may not receive a credible fear determination within ten days. See Hull Decl. ¶¶ 7-16; Aki

17   Decl. ¶¶ 6-12; Lafferty Decl. ¶ 8; Jennings Decl. ¶¶ 10-12. The CFI referral process requires the

18   coordination of three components of the federal government responsible for prioritizing their use

19   of limited resources. Id. Prioritization aside, interviews may be delayed during an influx of credible

20   fear referrals, due to the unavailability of a qualified interpreter, or when the detainee requires

21   medical attention. Id. These situations—all of which are encompassed by the class definition—

22   call for a different analysis of under the TRAC factors.

23          Similarly, the reasons why an individual may not receive a bond hearing within seven days

24   of “making a request” will vary based on to whom the request is made, the timing of the request

25   (i.e., whether it is at a time when the Court has jurisdiction to provide a bond hearing), and staffing

26   and docketing considerations that are unique to the immigration court. See Torres Decl. ¶¶ 13-14;

27   Neifert Decl. ¶¶ 13-14. These individualized considerations make it impossible for the Court to

28   categorically examine the TRAC factors, including the fourth factor (“the effect of expediting

                                                   13                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 17 of 29




 1   delayed action on agency activities of a higher or competing priority”), because it can only be
 2   analyzed through an individualized assessment of each immigration court’s docketing policies and
 3   priorities. Classwide adjudication of the scheduling claims is therefore not possible because the
 4   validity of the claim cannot be decided in one stroke. Wal–Mart, 564 U.S. at 350.
 5          B.      Plaintiffs’ constitutional claims cannot be commonly resolved as to the class as a
                    whole.
 6
            Plaintiffs’ 5 U.S.C. § 706(2) and due process claims cannot be commonly resolved because
 7
     the Due Process Clause (like the TRAC factors) requires consideration of more than a period of
 8
     time in isolation. As a result, the proposed classes are not matched to the necessary legal analysis
 9
     such that membership in the class is sufficient to determine the validity of the claim. Accordingly,
10
     certification must be denied on all of the constitutional claims.
11
            1. Plaintiffs’ scheduling claims cannot be resolved for either proposed class. A rigid
12
     temporal mandate is fundamentally inconsistent with the flexibility inherent in due process. The
13
     Supreme Court has “repeatedly stressed” that due process is a flexible concept that requires an
14
     individualized assessment of numerous factors including the interest at stake for the individual,
15
     the risk of an erroneous deprivation of the interest through the procedures used as well as the
16
     probable value of additional or different procedural safeguards, and the interest of the government
17
     in using the current procedures rather than additional or different procedures. Mathews v. Eldridge,
18
     424 U.S. 319, 334-335 (1976).
19
            The individual characteristics of the members of the classes and the variety of reasons for
20
     their “delays” make it impossible for the Court to answer the due process question the same way
21
     for each of them. See Lujan v. G&G Fire Sprinklers, Inc., 532 U.S. 189, 196 (2001) (“The very
22
     nature of due process negates any concept of inflexible procedures universally applicable to every
23
     imaginable situation.”); Jie Lin v. Ashcroft, 377 F.3d 1014, 1033 (9th Cir. 2004). In addition, the
24
     CFI class includes aliens who presented at a port of entry, as well as aliens (like the proposed
25
     representatives) who violated federal laws by entering between the POEs. These two categories of
26
     aliens are differently because the delay related to criminal prosecution contributes to the
27
     reasonableness of a ten-day delay and undermines the alien’s liberty interest and interest in timely
28

                                                  14                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 18 of 29




 1   processing as they sought to evade the legal process altogether. These factual differences prevent
 2   deciding or remedying the due process claim in a common manner.
 3          2. In addition, the bond hearing class—made up of aliens who have not yet had bond
 4   hearings—is not an appropriate class to challenge the constitutionality of standards or procedures
 5   applied at immigration bond hearings. The proposed class members do not have ripe challenges to
 6   these procedures as they have not been denied bond at all, much less as a result of the challenged
 7   procedures. Due process violations in immigration proceedings are subject to a harmless error
 8   analysis and therefore the plaintiff must demonstrate prejudice to prove a due process claim.
 9   Prieto-Romero v. Clark, 534 F.3d 1053, 1066 (9th Cir. 2008) (“Prieto–Romero contends that
10   Tijani requires all aliens to receive bond hearings where the government bears the burden of
11   establishing ineligibility for release. We need not resolve the issue because Prieto–Romero cannot
12   demonstrate prejudice”) (citing Getachew v. INS, 25 F.3d 841, 845 (9th Cir. 1994)); see also Singh
13   v. Holder, 638 F.3d 1196, 1210 (9th Cir. 2011) (applying harmless error analysis to claims
14   challenging procedural defects at immigration bond hearings). As demonstrated by the named
15   Plaintiffs, many members of the proposed class could be released from custody, even if required
16   to carry the burden of proof at the bond hearing. See ECF 12 at 12; ECF 36-1. Moreover, many of
17   the class members may never have a claim related to the transcription or recording of bond hearings
18   because, as demonstrated by the named Plaintiffs, their hearings may be recorded. Neifert Decl. ¶
19   20; Torres Decl. ¶ 18. In addition, any putative class member who files a bond appeal will not have
20   a challenge related to receipt of a written order because they will be provided a written order. Cf.
21   Neifert Decl. ¶ 19. Therefore, the putative class does not present a common challenge to the bond
22   procedures and cannot be certified for this claim consistent with Rule 23.
23          C.      Plaintiffs have not offered any explanation of the legal standard governing their
                    asylum law claims and therefore have failed to satisfy Rule 23.
24
            Plaintiffs’ motion does not refer to the asylum law claim or discuss whether it is appropriate
25
     (or possible) to adjudicate Count III under Rule 23. Plaintiffs have therefore failed to
26
     “affirmatively demonstrate” “that there are in fact . . . common questions of law” that are capable
27
     of classwide adjudication. Wal-Mart, 564 U.S. at 350. Because “the class determination . . .
28

                                                  15                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
              Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 19 of 29




 1   involves considerations that are enmeshed in the factual and legal issues comprising the . . . cause
 2   of action,” the Supreme Court has directed certifying courts to “probe behind the pleadings” and
 3   engage in an analysis of the merits before certifying a class. Plaintiffs’ failure to identify the legal
 4   standard they believe governs this claim makes that “rigorous analysis” impossible. See Comcast
 5   Corp., 569 U.S. at 33. Therefore, the Court cannot certify a class for Count III.
 6   III.    The named Plaintiffs are inadequate representatives with claims that are not typical
             of the claims brought by the proposed classes.
 7
             Both the typicality and adequacy requirements under Rule 23(a)(3) and (4) serve to protect
 8
     the due process rights of absent class members who will be bound by the judgment. See Hanlon
 9
     Chrysler Corp., 150 F.3d, 1011, 1020 (9th Cir. 1998); Wolin v. Jaguar Land Rover N. Am., LLC,
10
11   617 F.3d 1168, 1175 (9th Cir. 2010). Like commonality, these requirements “serve as guideposts

12   for determining whether under the particular circumstances maintenance of a class action is

13   economical and whether the named plaintiff's claim and the class claims are so interrelated that

14   the interests of the class members will be fairly and adequately protected in their absence.” Wal-

15   Mart, 564 U.S. at 350. Plaintiffs have failed to demonstrate that the proposed representatives will

16   fairly protect the interests of the class.

17           A.      Plaintiffs have not satisfied their burden of demonstrating the suitability of the
                     proposed class representatives given that none of them has a stake in the outcome
18                   of the litigation.
19           The adequacy of representation determination is based on two inquiries: (1) do the named
20   plaintiffs and their counsel have any conflicts of interest with other class members; and (2) will
21   the named plaintiffs and their counsel prosecute the action vigorously on behalf of the class. Id. at
22   1021; see also Denney v. Deutsche Bank AG, 443 F.3d 253, 268 (2d Cir. 2006) (“proposed class
23   representative must have an interest in vigorously pursuing the claims of the class, and must have
24   no interests antagonistic to the interests of other class members”). The nature of class certification
25   under Rule 23(b)(2) amplifies the need to confirm the commitment of the representatives because
26   members of a Rule 23(b)(2) class have no right to opt out of the class. Molski v. Gleich, 318 F.3d
27
     937, 947 (9th Cir. 2003).
28

                                                   16                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
                 Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 20 of 29




 1           All of the plaintiffs have received a credible fear determination, were found to have a
 2   credible fear, were scheduled for a bond hearing, and have been released from immigration
 3   detention. See supra pp. 6-9. They are now pursuing their claims for relief in removal proceedings.
 4   When a “plaintiff's claim becomes moot before the district court certifies the class, the class action
 5   normally also becomes moot.” Slayman v. FedEx Ground Package Sys., Inc., 765 F.3d 1033, 1048
 6   (9th Cir. 2014). But even if Plaintiffs’ claims are not moot,1 they have not shown that they are
 7   interested in, willing to, or capable of prosecuting this action on behalf of all named class members.
 8   See Ellis v. Costco Wholesale Corp., 657 F.3d 970, 986 (9th Cir. 2011) (concluding that former
 9   employees are not adequate representatives of a class of current employees seeking injunctive
10   relief arising out of gender discrimination claim); Schulken v. Washington Mut. Bank, No. 09-cv-
11   02708, 2012 WL 28099, *5 & n.2 (N.D. Cal. Jan. 5, 2012) (analogizing Rule 23(a)(4) analysis to
12   standing analysis). Plaintiffs—despite filing two amended complaints, an amended motion for
13   class certification, and dozens of declarations—have not submitted a single sworn statement from
14   any proposed representative. At a minimum, Plaintiffs have the burden of demonstrating that the
15   proposed class representatives are aware of this class action litigation and their role in it. See
16   Spinelli v. Capital One Bank, 265 F.R.D. 598, 614 (M.D. Fla. 2009) (“[The class representative]
17   provided no affidavit reflecting her understanding and acceptance of the duties of a class
18   representative. . . . Her lack of interest in the lawsuit makes her unsuitable to represent the putative
19   class.”).
20           Plaintiffs’ motion for class certification makes no representations about the adequacy of
21   the class representative besides counsel’s unsworn assertions that the named Plaintiffs’ “interests
22   in this case are shared with the other putative members of their respective classes” and a bare,
23   unsupported assertion that “Plaintiffs seek the same justice for all similarly situated asylum seekers
24   that they seek for themselves . . . .” ECF 37 at pp. 19-20; Buford v. H & R Block, Inc., 168 F.R.D.
25
     1
26     Although Plaintiffs generally assert that their claims are the type that qualify for an exception to
     the mootness doctrine, they have not supported that claim with additional argument or evidence.
27   Even if that were the case for Plaintiffs’ scheduling claims (contrary to their claims about lengthy
     delays), it is certainly not the case for Plaintiffs’ challenges to the bond hearing standards and
28   procedures.

                                                   17                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 21 of 29




 1   340, 353–54 (S.D. Ga. 1996), aff'd, 117 F.3d 1433 (11th Cir. 1997) (a class representative must
 2   have a working knowledge of the case in order to “avoid investing unbridled discretion in the class
 3   attorney and effectively anointing the class attorney as the class representative.”). The motion,
 4   however, lacks any acknowledgement that class representatives are required to actively participate
 5   in the litigation. See In re AEP ERISA Litig., 45 Employee Benefits Cas. (BNA) 2184, 2008 WL
 6   4210352 (S.D. Ohio 2008) (finding the proposed class representative inadequate because his
 7   “statement that he's ‘just a member of a class,’ suggests that he did not realize that he had agreed
 8   to serve as a class representative and that he further did not appreciate that this designation carries
 9   with it a special responsibility to actively assist class counsel in prosecuting the litigation and
10   monitor their work”); Byes v. Telecheck Recovery Services, Inc., 173 F.R.D. 421 (E.D. La. 1997)
11   (the fact the class representative was “admittedly unaware that the [had] duties as a class
12   representative” led court to finding inadequate representation). The lack of any evidence from the
13   named Plaintiffs is particularly problematic here given that they have already received the relief
14   that they are seeking from this litigation and are now turning their attention to defending their
15   removal proceedings. There is therefore good reason to seek confirmation of their commitment to
16   the litigation given what is at stake for an expansive class of detained aliens whose rights will be
17   decided in this litigation. Plaintiffs did not satisfy their burden of showing that the proposed
18   representatives will “vigorously” pursue those interests on behalf of the unnamed class members.
19   Certification should be denied on this basis.
20          Alternatively, given the complete lack of evidence supporting the adequacy of the class
21   representatives, this Court should permit Defendants discovery into the suitability of the proposed
22   representatives prior to ruling on the motion for class certification. Defendants request the
23   opportunity to depose the representatives for the purpose of ascertaining their understanding of
24   and commitment to their role as a class representative, and ability to fulfill the requirements of
25   acting as a class representative. See McKay v. Tharaldson, 272 F.R.D. 465, 468 (D.N.D. 2011)
26   (reviewing the deposition of the proposed class representative and “find[ing] he understands the
27   nature of the suit, his role as class representative, and can meaningfully assist the lawyers in the
28   case.”) (citations omitted).

                                                     18                    Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 22 of 29



            B.       None of the proposed representatives has claims that are typical of the putative
 1
                     classes’ claims.
 2
            Typicality requires a showing that “the claims or defenses of the representative parties are
 3
     typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). The purpose of this
 4
     requirement “is to assure that the interest of the named representative aligns with the interests of
 5
     the class.” Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010) (quoting
 6
     Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.1992)). “The test of typicality is whether
 7
     other members have the same or similar injury, whether the action is based on conduct which is
 8
     not unique to the named plaintiffs, and whether other class members have been injured by the same
 9
     course of conduct.” Wolin, 617 F.3d at 1175 (quoting Hanon, 976 F.2d at 508).
10
            1.       Plaintiffs have not proposed an adequate representative with claims typical of
11                   those of the proposed CFI class’s claims.
12          The named Plaintiffs represent only a fraction of individuals who are subject to these

13   processes. Each of the named Plaintiffs entered the United States without inspection between the

14   ports of entry. As such, these individuals were subject to criminal prosecution and, at the time of

15   their entry, were subject to the government’s adaptation to significant policy shifts with respect to

16   these prosecutions. The named Plaintiffs cannot represent individuals apprehended in other

17   contexts, such as at ports of entry, who may also subsequently be entitled to CFIs or bond

18   proceedings. Moreover, as discussed at length above, the processing and transfer times may vary

19   significantly depending on where aliens are detained. Although some aliens may be detained near

20   a major area, many ports of entry and Border Patrol stations are located in remote areas, and, as

21   discussed above, the processing at these facilities will depend on each alien’s circumstances. The

22   named Plaintiffs here are plainly atypical and inadequate representatives of the class they purport

23   to represent.

24          The named Plaintiffs were processed under unique circumstances that are no longer

25   present. As a result, the proposed representative’s claims are not typical of the claims of the class

26   going forward under current conditions and procedures. The named Plaintiffs all surreptitiously

27   entered the United States within a particular two-week span during an unprecedented influx of

28   adult immigration detainees that, in turn, caused ICE to enter into temporary agreements with BOP

                                                  19                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 23 of 29




 1   facilities who had not recently (or in some cases, ever) housed immigration detainees. See Jennings
 2   Decl. ¶ 10. The named Plaintiffs were all among the first detainees transferred to the new BOP
 3   facilities and, as a result, endured an atypical credible fear referral process while the infrastructure
 4   at those facilities was being developed. Those issues have now been addressed. ICE no longer
 5   houses any immigration detainees at Victorville and has fewer than 100 total immigration
 6   detainees in the four other new BOP facilities, including SeaTac. And, in any event, procedures
 7   for those facilities are now in place such that any similar claims brought by a current BOP detainee
 8   would be viewed differently than a claim brought during the start-up phase. Simply put, the claims
 9   brought by the named Plaintiffs are the result of a unique combination of circumstances that are
10   not shared by the class. Plaintiffs are not typical or adequate class representatives for a nationwide
11   class of individuals whose circumstances are meaningfully different.
12          2.       Plaintiffs do not have an adequate representative for their bond hearing claims.

13          Plaintiffs propose two representatives (Orantes and Vasquez) for adjudication of two sets

14   of bond claims—one set challenging the scheduling of bond hearing and a second set challenging

15   the burdens and procedures applied at those hearings. Neither is inadequate for either claim.

16          i. Scheduling claims. Orantes and Vasquez’s situations are atypical from those of the

17   proposed class, as this summer saw an influx in the numbers of detained adults in ICE’s custody

18   so large that ICE had to partner with the BOP to ensure adequate detention space. See Jennings

19   Decl. ¶ 10. The decision to house people in new facilities such as SeaTac and Victorville likely

20   had an impact on the dockets at Tacoma and Adelanto, as the caseload is “tied directly to DHS

21   enforcement activities and may fluctuate depending on the number of individuals booked into DHS

22   custody on any given week.” See Torres Decl. ¶ 14; Neifert Decl. ¶ 14.

23          ii. Bond procedures claims. Neither proposed representative filed an appeal of their bond

24   decision and, as a result, have failed to meet a requirement for bringing any of the class’s

25   procedural bond hearing claims. See Leonardo v. Crawford, 646 F.3d 1157, 1160 (9th Cir. 2011)

26   (dismissing due process challenges to bond hearing for failure to exhaust to the BIA). Rather, both

27   were released from immigration detention and therefore not prejudiced by the challenged

28   procedures. See Prieto-Romero, 534 F.3d at 1066 (requiring a showing of prejudice for due process

                                                   20                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 24 of 29




 1   challenges to immigration court procedures). In addition, both Vasquez and Orantes had recorded
 2   bond hearing and therefore cannot serve as representatives for Plaintiffs’ claims challenging
 3   recording practices. Neifert Decl. ¶ 20; Torres Decl. ¶ 18. Finally, Vasquez cannot serve as a
 4   representative on any of the bond procedure claims because had a bond hearing where he simply
 5   stipulated to his release on an $8,000.00 bond. ECF 36-1. Thus, he was not required to carry the
 6   burden of proof in order to obtain release on bond.
 7   IV.    In the event the Court finds certification is appropriate, the class should be limited
            to the Western District of Washington.
 8
            The Court should decline to certify a nationwide class. Nationwide class actions are
 9
     certified with caution because they “may have a detrimental effect by foreclosing adjudication by
10
     a number of different courts and judges.” Califano, 442 U.S. at 702; see United States v. Mendoza,
11
     464 U.S. 154, 160 (1984) (“Allowing only one final adjudication would deprive this Court of the
12
     benefit it receives from permitting several courts of appeals to explore a difficult question before
13
     this Court grants certiorari.”). “[A] federal court when asked to certify a nationwide class should
14
     take care to ensure that nationwide relief is indeed appropriate in the case before it, and that
15
     certification of such a class would not improperly interfere with the litigation of similar issues in
16
     other judicial districts.” Califano, 442 U.S. at 702. Certification of a nationwide class is not
17
     appropriate here because certifying a nationwide class would deprive other jurisdictions of the
18
     ability to weigh in on issues of national importance; would interfere with courts already assessing
19
     overlapping issues; It would also lock putative class members into this case and deprive them of
20
     the ability to seek likely speedier habeas relief through individualized petitions.
21
            First, a nationwide class would violate the principles of intercircuit comity, and strip other
22
     courts of jurisdiction over claims currently pending in their own courts. See Geraghty v. U.S.
23
     Parole Comm’n, 719 F.2d 1199, 1205 (3d Cir. 1983) (affirming the district court’s decision to
24
     limit a class of federal prisoners to the Middle District of Pennsylvania because “it is within the
25
     district court’s discretion to conclude that classwide consideration of the legality of the parole
26
     guidelines and the constitutionality of the [statute at issue] might interfere with the litigation of
27
     similar issues in other judicial districts”). Courts with different governing precedent on bond
28

                                                  21                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 25 of 29




 1   hearings may reach different conclusions regarding the validity of Plaintiffs’ claims. See, e.g.,
 2   Jennings v. Rodriguez, 138 S. Ct. 830 (2018). As a result, the Court cannot be “sure that nationwide
 3   relief is indeed appropriate” given that law in at least some jurisdictions may preclude relief.
 4   Califano, 442 U.S. at 702. Indeed, the constitutionality of placing the burden on the alien at bond
 5   hearings was briefed to the Supreme Court, but the Court declined to rule on issue without allowing
 6   the Court of Appeals to consider the question in the first instance. Jennings, 138 S. Ct. at 851. The
 7   issue is now pending before the Court of Appeals, see Rodriguez v. Jennings, 887 F.3d 954, 956
 8   (9th Cir. 2018) (requesting briefing on the issue), and in habeas petitions nationwide. See, e.g.,
 9   Brevil v. Jones, Case No. 1:17-cv-01529-LTS-GWG (S.D.N.Y.).
10          Class treatment of these issues deprives a federal district court sitting in the jurisdiction to
11   decide issues of local importance—including what standard should govern dangerousness and
12   flight assessment before an alien may be released into the community. Congress specifically
13   determined that the local district court alone should have venue to determine whether federal
14   detainees should be released from federal custody. See 28 U.S.C. § 2241(a) (“Writs of habeas
15   corpus may be granted by the Supreme Court, any justice thereof, the district courts and any circuit
16   judge within their respective jurisdictions.”) (emphasis added); Rumsfeld v. Padilla, 542 U.S. 426,
17   443 (2004) (“The plain language of the habeas statute thus confirms the general rule that for core
18   habeas petitions challenging present physical confinement, jurisdiction lies in only one district: the
19   district of confinement.”). “Congress added the limiting clause—‘within their respective
20   jurisdictions’—to the habeas statute in 1867 to avert the ‘inconvenient [and] potentially
21   embarrassing’ possibility that ‘every judge anywhere [could] issue the Great Writ on behalf of
22   applicants far distantly removed from the courts whereon they sat.’” Padilla, 542 U.S. at 442
23   (quoting Carbo v. United States, 364 U.S. 611, 617 (1961)). Deciding the issue of the timing of
24   bond hearing at the national level deprives local courts of their congressionally-dictated authority
25   over detainee release and prevents the local courts from determining when an alien has been
26   sufficiently vetted to permit their release into the individual community they serve. Instead, the
27   Court should allow “several courts of appeals to explore [this] difficult question” for themselves.
28   Mendoza, 464 U.S. at 160; see, e.g., Hootkins v. Chertoff, No. CV 07-5696, 2009 WL 57031, at

                                                  22                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 26 of 29




 1   *4 (C.D. Cal. Jan. 6, 2009) (limiting a class of individuals challenging the interpretation of an INA
 2   provision to the Ninth Circuit because “the Court is mindful of the importance of allowing the
 3   government to litigate legal issues before different courts throughout the country”).
 4          Second, the individual and regional difference in factual circumstances counsels against
 5   addressing this question in a one-size-fits-all nationwide determination. See, e.g., Shvartsman v.
 6   Apfel, 138 F.3d 1196, 1201 (7th Cir. 1998) (declining to certify a nationwide class where varying
 7   law and circumstances impacted validity of class claims); City & Cty. of San Francisco v. Trump,
 8   897 F.3d 1225, 1244 (9th Cir. 2018) (finding nationwide injunction is unwarranted where “the
 9   record is not sufficiently developed on the nationwide impact” of the alleged harm). The evidence
10   indicates that the timing of credible fear determinations and bond hearings turns on a multitude of
11   factors particular to the individual’s history and circumstances and the region of their apprehension
12   and detention, see supra pp. 2-6 ; Wal-Mart, 564 U.S. at 351, 360. Plaintiffs’ claims are no different
13   than claims routinely rejected under Rule 23 where “the proposed class’s proffered common issues
14   ‘stretch[] the notions of commonality’ by attempting to aggregate several amorphous claims of
15   systemic or widespread conduct into one ‘super-claim.’” M.D. v. Perry, 675 F.3d 832, 844 (5th
16   Cir. 2012). A nationwide injunction addressing this “super-claim” would “merely initiate a process
17   through which highly individualized determinations” concerning the interplay between regional
18   programs and an individual class-members’ circumstances “are made; this kind of relief would be
19   class-wide in name only, and it would certainly not be final.” Jamie S. v. Milwaukee Pub. Schools,
20   668 F.3d 481, 497-98 (7th Cir. 2012).
21          Finally, certifying a nationwide class locks all aliens wishing to challenge the timing of
22   their credible fear determinations or bond hearings, or the standards of procedures employed at
23   those hearings into litigating that issue in this case. Rule 23 “provides no opportunity for (b)(1) or
24   (b)(2) class members to opt out, and does not even oblige the District Court to afford them notice
25   of the action.” Wal-Mart, 564 U.S. at 362. But because Plaintiffs seek certification under Rule
26   23(b)(2), this Court cannot permit opt-outs. See, e.g., Frank v. United Airlines, Inc., 216 F.3d 845,
27   850 (9th Cir. 2000); Lewis v. City of Chicago, 702 F.3d 958, 962 (7th Cir. 2012); Gates v. Rohm
28   and Haas Co., 655 F.3d 255, 264 (3d Cir. 2011). Individual, local habeas challenges filed by

                                                  23                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 27 of 29




 1   putative class members would therefore likely be dismissed. Multiple courts of appeals, including
 2   the Ninth Circuit, have upheld dismissals of a case if there is a parallel class action raising the
 3   same or substantially similar issues. See e.g., Crawford v. Bell, 599 F.2d 890, 892-93 (9th Cir.
 4   1979) (a district court may dismiss “those portions of [the] complaint which duplicate the [class
 5   action’s] allegations and prayer for relief”); McNeil v. Guthrie, 945 F.2d 1163, 1165-66 (10th Cir.
 6   1991) (individual suits for injunctive and declaratory relief cannot be brought where a class action
 7   with the same claims exists); Horns v. Whalen, 922 F.2d 835, 835 & n.2 (4th Cir. 1991); Gillespie
 8   v. Crawford, 858 F.2d 1101, 1103 (5th Cir. 1988) (once a class action has been certified,
 9   “[s]eparate individual suits may not be maintained for equitable relief”); Bennett v. Blanchard,
10   802 F.2d 456, 456 (6th Cir. 1986) (affirming dismissal of a case when the plaintiff was a member
11   in a parallel class action); Goff v. Menke, 672 F.2d 702, 704 (8th Cir. 1982) (since class members
12   generally “cannot relitigate issues raised in a class action after it has been resolved, a class member
13   should not be able to prosecute a separate equitable action once his or her class has been certified”).
14           Putative class members thus would have no chance to seek speedier or particularized relief
15   by filing individual habeas petitions. See 8 U.S.C. § 1252(e)(2) (providing for individual habeas
16   petitions to challenge issues arising from application of section 1225(b)(1)). If a class is certified,
17   this Court will need to assess the due process ramifications of a multitude of factual circumstances
18   and regional variations in immigration court resources. See Cafeteria Workers v. McElroy, 367
19   U.S. 886, 895 (1961) (“The very nature of due process negates any concept of inflexible procedures
20   universally applicable to every imaginable situation. . . . Due process … is not a technical
21   conception with a fixed content unrelated to time, place and circumstances.”). Resolution of this
22   case may well take significantly longer than resolution of an individual habeas petition limited to
23   narrow claims and factual circumstances. Thus, certifying a nationwide class may well impede
24   putative class members’ access to speedier and/or particularized adjudication of their detention.
25   Should the Court certify a class, that class should be limited individuals located in this jurisdiction.
26
                                               CONCLUSION
27
            For the foregoing reasons, the Court should deny the motion for class certification.
28

                                                   24                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
            Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 28 of 29



     Dated: September 24, 2018                Respectfully submitted,
 1
 2                                            JOSEPH H. HUNT
                                              Assistant Attorney General
 3                                            Civil Division
 4
                                              WILLIAM C. PEACHEY
 5                                            Director
                                              Office of Immigration Litigation,
 6                                            District Court Section
 7
                                              EREZ REUVENI
 8                                            Assistant Director

 9                                            /s/ Joseph A. Darrow
                                              JOSEPH A. DARROW
10
                                              Trial Attorney
11                                            United States Department of Justice
                                              Civil Division
12                                            Office of Immigration Litigation,
                                              District Court Section
13
                                              P.O. Box 868, Ben Franklin Station
14                                            Washington, DC 20044
                                              Phone: (202) 589-2445
15                                            Joseph.a.darrow@usdoj.gov
16
                                              LAUREN C. BINGHAM
17                                            Trial Attorney

18                                            SARAH STEVENS WILSON
                                              Assistant United States Attorney
19
20
21
22
23
24
25
26
27
28

                                       25                  Department of Justice, Civil Division
                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ OPP TO CLASS CERT                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 68 Filed 09/24/18 Page 29 of 29




 1                                    CERTIFICATE OF SERVICE

 2
 3           I HEREBY CERTIFY that on September 24, 2018, I electronically filed the foregoing

 4   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 5   is being served this day on all counsel of record or pro se parties via transmission of Notices of
 6
     Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
 7
     parties who are not authorized to receive electronically filed Notices of Electronic Filing.
 8
 9
10                                                         /s/ Joseph A. Darrow
                                                           Trial Attorney
11                                                         United States Department of Justice
12
13
14
15
16
17
18
19
20
21
22
23
24
25
                                                                         Department of Justice, Civil Division
26   Defendants’ Motion to Dismiss                                         Office of Immigration Litigation
     (Case No. 2:15-cv-01543-RSM)                                         P.O. Box 868 Ben Franklin Station
27                                                                             Washington, D.C. 20044
                                                 -26-                              (202) 532-4700
28
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 1 of 8




       Exhibit A
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 2 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 3 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 4 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 5 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 6 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 7 of 8
Case 2:18-cv-00928-MJP Document 68-1 Filed 09/24/18 Page 8 of 8
